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             EXHIBIT A
Case 2:19-cv-02490-PJW Document 1-1 Filed 04/02/19 Page 2 of 47 Page ID #:13

                                                                         Service of Process
                                                                         Transmittal
                                                                         03/01/2019
                                                                         CT Log Number 535020842
  TO:     Chris Dzbanski
          FORD MOTOR COMPANY
          1 American Rd Whq 421-E6
          Dearborn, MI 48126-2701

  RE:     Process Served in California

  FOR:    Ford Motor Company  (Domestic State: DE)




  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                 Carol A. Richens and Gary T. Richens, Pltfs. vs. Ford Motor Company, et al., Dfts.
  DOCUMENT(S) SERVED:              Summons, Complaint, Cover Sheet, Instructions, Addendum(s), Notice(s),
                                   Attachment(s), Stipulation(s)
  COURT/AGENCY:                    Los Angeles County - Superior Court - Hill Street, CA
                                   Case # 19STCV06716
  NATURE OF ACTION:                Product Liability Litigation - Breach of Warranty - 2008 Ford F350, VIN:
                                   1FTWW31R98EB18280
  ON WHOM PROCESS WAS SERVED:      C T Corporation System, Los Angeles, CA
  DATE AND HOUR OF SERVICE:        By Process Server on 03/01/2019 at 15:34
  JURISDICTION SERVED :            California
  APPEARANCE OR ANSWER DUE:        Within 30 days after service
  ATTORNEY(S) / SENDER(S):         Tionna Dolin
                                   Strategic Legal Practices, APC
                                   1840 Century Park East, Suite 430
                                   Los Angeles, CA 90067
                                   310-929-4900
  ACTION ITEMS:                    CT has retained the current log, Retain Date: 03/02/2019, Expected Purge Date:
                                   03/07/2019

                                   Image SOP

                                   Email Notification,  Mary Ann MacKinnon  mmackin1@ford.com

                                   Email Notification,  Chris Dzbanski  cdzbansk@ford.com

  SIGNED:                          C T Corporation System
  ADDRESS:                         818 West Seventh Street
                                   Los Angeles, CA 90017
  TELEPHONE:                       213-337-4615




                                                                         Page 1 of  1 / DS
                                                                         Information displayed on this transmittal is for CT
                                                                         Corporation's record keeping purposes only and is provided to
                                                                         the recipient for quick reference. This information does not
                                                                         constitute a legal opinion as to the nature of action, the
                                                                         amount of damages, the answer date, or any information
                                                                         contained in the documents themselves. Recipient is
                                                                         responsible for interpreting said documents and for taking
                                                                         appropriate action. Signatures on certified mail receipts
                                                                         confirm receipt of package only, not contents.
                                                                                     C.0.3ID
                    Case 2:19-cv-02490-PJW Document 1-1 Filed 04/02/19 Page 3 of 47 Page   ca #:14
                                                                                       19STCV06716
Eloctronicolty rILED by cuperiorCourt of California, County of Los Angeles on 0212711010 03:00 PIA Chord R. Cortor, Cwocut'rio Officor/Clorl, of Court. by II rforoc ltornondoz.Doputy Ctork


                                          SUMMONS                                                                                           FOR COURT USE ONLY
                                                                                                                                         (SOLO PARA 05005 LA tORTE)

                                      (CITACION JUDICIAL)
              NOTICE TO DEFENDANT:
              (AVISO AL DEMANDADO):
               FORD MOTOR COMPANY; MCCOY MILLS FORD;
               and DOES I through 10 inclusive
              YOU ARE BEING SUED BY PLAINTIFF:
              (LO ESTA DEMANDANDO EL DEMANDANTE):
               CAROL A. RICHENS and GARY T. RICHENS

                                have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the
                below.
                    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
                 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal farm if you want the court to hear your
                 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
                 Online Self-Help Center (www.courfinfo.ca.gov/selthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
                 the court clerk for a fee waiver form. If you do not tile your response on time, you may lose the case by default, and your wages, money, and property
                may be taken without further warning from the court.
                    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
                referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
                these nonprofit groups at the California Legal Services Web site (vw.w.iawhelpcalifornia.o,g). the California Courts Online Self-Help Center
                (www.courlinfo.ca.gov/ssltholp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
                 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
                1A V/SO! Lo han demandado. Si no responds denim do 30 dlas, la torte puede decidir an su contra sin escochar su version. Lea la informaciOn a
                continuation.
                   Trend 30 alAS DE CALENQAR!O dospuOs do quo Is entreguen esta citacion y papeles legates para presenter una respuesta pot escrito on esta
                torte y hater quo so en/rogue one copia at dernandante. Una cafla o una lie made tote tonics no to protegen. So respuesta pot escilto Hone quo es/ar
                an formato legal con-edo si desea qua ptocesen so case on Is coils. Es posible quo hays on formu/ado quo usied pueda user para su respuesta.
                Puedo encontrar es/os forrnularios do Is co,te yrnés informatiOn en ei Centre de Ayuda do las Cones do California (www.sucorte.ca.gov), an )a
                bib//clots do /eyes do su condado o an Ia torte quo Is quede mOs torte. Si no puedo pager la cuota do presentatiOn, pida at secretario do Is torte
                qua Is dO un formularfo do exonciOn de pago do cuotas. Si no presents su respuesta a tiempe, puode pettier of caso porincumplimiento y Is cone /0
                podrâ quite! So sue/do, dinern y bienes sin aids advenencie.
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                remisian a abogados. Si no puede pager a un abogado, as poslb/e quo cumpla con los req uisitos pare obtenet servicios /agates gratuitos do un
                prngrarna do se,vicios loge/es sin lines do lucre. Puode encontrar es/os gnipos sin fines do lucre on 01 si/ic web do California Legal Services,
                (www.lawhelpcalifornia.org). an of Contra do Ayude do /as Cones do California, (www.sucorte.ca.gov) 0 poniOndose en tentacle Con la tetto 00?
                cotogio do abogedes locales. A v/SO: Par ley, Is cotta hone dorecho a reclaniar (as coo/as y los costos oxen/os per importer on gravamen sobre
                cue/quiet recuperation do $10,000 0 mas do valor recibida mediante un acuerdo 0 una concesiOn do arbitraje on on caso do derecho civiL Tione quo
                pagar a/gravamen de Is cotta an/es do qua Is cons puede dosechar 0/ C550.
              The name and address of the court is:                                                                          CASE NUMBER:
                                                                                                                             (N0nnio del case):
              (El nornbre y directiOn dole cone Os):          Los Angeles
                llIN. Hill Street                                                                                           I
               Los Angeles, CA 90012
              The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
              (El nombro, Is directiOn y el nUrnem de telEfono del abogado del demandante, a del dernandante quo no tiene abogado, es):
               Tionna Dolin; 1840 Century Park East, Suite 430, Los Angeles, CA 90067; Tel: (310) 929-4900
                                                                                               Sherri R. Ca rt er                  Executive Officer! Clerk of Court
              DATE: 0212712019                                                                                            , Deputy
                                                                                  Cleric, by
              (Fecha)                                                             (Secrelario) Heather A Flores-Hernandez (Adjun/o)
                  'maf of service of this summons, use Proof 01 Service of Summons (i0t l-v-u1U).)
                   prueba do en/toga de esta citatiOn use el formularlo Proof of Service of Summons, (P05-010
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                 SUM.l Rev. July l. 2j
                  Case 2:19-cv-02490-PJW Document 1-1 Filed 04/02/19 Page 4 of 47 Page ID #:15
                                                                                     198TCV06716

                                       Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Robert Broadbelt


Electronically FILED by Si uior court of California, county of Los Angeles on 02/27/2019 03:09 PM Sherri R. carter, Executive Officer/clerk of Court. by H. Flores-HernandezDeputy

                              Tionna Dolin (SBN 2990 10)
                             e-mail: tdolin@slpattomey.com
                      2      Strategic Legal Practices, APC
                             1840 Century Park East, Suite 430
                      3
                             Los Angeles, CA 90067
                      4      Telephone: (310) 929-4900
                             Facsimile: (310) 943-3838
                      5
                              Attorneys for Plaintiffs CAROL A. RICHENS and GARY T. RICHENS
                      6

                      7                                SUPERIOR COURT OF THE STATE OF CALIFORNIA

                      8                                                      COUNTY OF LOS ANGELES

                      9

                    10       CAROL A. RICHENS and GARY T                                                 Case No.:
                             RICHENS,
      0                                                                                                  Hon.
                                                    Plaintiffs,                                          Dept.
                    12

                    13              vs.
                                                                                                         COMPLAINT FOR VIOLATION OF
                    '4       FORD MOTOR COMPANY; MCCOY                                                   STATUTORY OBLIGATIONS
                             MILLS FORD; and DOES I through 10,
                    15
                             inclusive,
                                                                                                         JURY TRIAL DEMANDED
                    16
                                                 Defendants.
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                                                                         COMPLAINT; JURY TRIAL DEMANDED
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                       Plaintiffs allege as follows:

            2                                              PARTIES

            3                 As used in this Complaint, the word "Plaintiffs" shalt refer to Plaintiffs

            4   CAROL A. RICHENS and GARY T. RICHENS.

            5                 Plaintiffs are residents of Orange County, California.

            6                 As used in this Complaint, the word "Defendant" shall refer to all Defendants

            7   named in this Complaint, unless otherwise specified.

                              Defendant FORD MOTOR COMPANY ("Defendant FMC") is a corporation

                organized and in existence under the laws of the State of Delaware and registered with the

           10   California Department of Corporations to conduct business in California. At all times relevant

C-)        II   herein, Defendant was engaged in the business of designing, manufacturing, constructing,

           12   assembling, marketing, distributing, and selling automobiles and other motor vehicles and

           13   motor vehicle components in Los Angeles County.

           14                  Defendant MCCOY MILLS FORD ("Defendant MILLS FORD") is an

 fl:       15   unknown business entity organized and in existence under the laws of the State of California.

           16   At all times relevant herein, Defendant was engaged in the business of selling automobiles and

           17   automobile components, and servicing and repairing automobiles in Orange County.
      LJ



           18                 Plaintiffs are ignorant of the true names and capacities of the Defendants sued
Cl)

           19   under the fictitious names DOES I to 10. They are sued pursuant to Code of Civil Procedure

           20   section 474. When Plaintiffs become aware of the true names and capacities of the

           21   Defendants sued as DOES 1 to 10, Plaintiffs will amend this Complaint to state their true

           22   names and capacities.

           23                                          FIRST CAUSE OF ACTION

           24                            BY PLAINTIFFS AGAINST DEFENDANT FMC

           25              VIOLATION OF SUBDIVISION (D) OF CIVIL CODE SECTION 1793.2

           26                  On or about January 11, 2008 Plaintiffs purchased a 2008 Ford F350 Super

           27   Duty vehicle identification number IFTWW3IR98EBI8280, (hereafter "Vehicle") from

           28   Defendant MILLS FORD, which was manufactured and or distributed by Defendant FMC.



                                             COMPLAINT; JURY TRIAL DEMANDED
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          The Vehicle was purchased or used primarily for personal, family, or household purposes

      2   Plaintiffs purchased the Vehicle from a person or entity engaged in the business of

      3   manufacturing, distributing, or selling consumer goods at retail.

      4                  In connection with the purchase, Plaintiffs received an express written warranty

      5   in which Defendant undertook to preserve or maintain the utility or performance of the

      6   Vehicle or to provide compensation if there is a failure in utility or performance for a

      7   specified period of time. The warranty provided, in relevant part, that in the event a defect

      8   developed with the Vehicle during the warranty period, Plaintiffs could deliver the Vehicle for

      9   repair services to Defendant's representative and the Vehicle would be repaired. Specifically,

     10   Defendant Ford's Super Duty Trucks containing the 6.4L Engines were sold with Ford's

0    II   Limited Warranty, including the 6.4-liter PowerStroke Diesel Engine Warranty, which covers

     12   the "engine and engine components against defects in factory-supplied materials or




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          workmanship for five years after the warranty start date or 100,000 miles, whichever occurs

          first," and provides that "[d]uring this coverage period, authorized Ford Motor Company

          dealers will repair, replace, or adjust all parts on your vehicle that are defective in factory-

          supplied materials or workmanship."

                         During the warranty period, the Vehicle contained or developed defects,


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          including but not limited to, defects related to the engine; defects requiring the recalibration of

          the powertrain control module ("PCM"); defects causing stalling; defects requiring the

     20   performance of Recall 08C0l; defects causing the A/C blower to malfunction and/or be

     21   intermittently inoperable; defects causing water intrusion into the trailer connector and/or

     22   wiring; defects requiring the replacement of the trailer connector and/or bracket; defects

     23   causing the illumination of the check engine light; defects causing engine oil leaks; defects

     24   requiring the replacement of the engine CAM sensor 0-ring; defects requiring the engine to be

     25   steam cleaned; defects causing coolant leak(s); defects related to the Vehicle's cooling

     26   system; defects requiring replacement of the crank pulley; defects causing front seal leak(s);

     27   defects related to the radiator; defects requiring replacement of the lower radiator hose;

     28   defects requiring replacement of the radiator assembly; defects requiring performance of


                                                           2
                                       COMPLAINT; JURY TRIAL DEMANDED
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               Recall II 132313; defects causing low coolant level; defects causing the radiator hoses to leak at

       2       the 0-rings; defects requiring replacement of the rear main seal; defects related to the EGR

       3       system; defects causing the engine to become sluggish on acceleration; defects requiring

       4       repeated performance of an EEC test; defects requiring the replacement of the fuel filter;

       5       defects requiring replacement of seal front crankshaft; defects requiring the replacement of a

       6       leaking pension seal; defects requiring the replacement of the pan gasket; defects requiring the

       7       replacement of damaged water hose and/or squirters; defects requiring the replacement of a

       8       degas bottle; defects related to the brakes; defects requiring the replacement of brake pads;

       9       defects requiring the replacement of brake shoes; defects requiring the rotors to be resurfaced

      10       and/or machined; defects related to the tailgate; defects requiring the tailgate liner to be

Li3            repaired; defects causing the Vehicle to pull to the right; and/or any other defects described in

      12       the Vehicle's repair history. Said defects substantially impair the use, value, or safety of the

      13       Vehicle.

      14               10.     Plaintiffs suffered damages in a sum to be proven at trial in an amount that is


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      15   I   not less than $25,001.00.

-     16               II.     Defendant and its representatives in this state have been unable to service or

      17       repair the Vehicle to conform to the applicable express warranties after a reasonable number

               of opportunities. Despite this fact, Defendant failed to promptly replace the Vehicle or make
V
      19       restitution to Plaintiffs as required by Civil Code section 1793.2, subdivision (d) and Civil

      20       Code section 1793.1, subdivision (a)(2).

      21                       Plaintiffs have been damaged by Defendant's failure to comply with its

      22       obligations pursuant to Civil Code section 1793.2, subdivision (d) and Civil Code section

      23       1793.1, subdivision (a)(2), and therefore bring this cause of action pursuant to Civil Code

      24       section 1794.

      25                       Defendant's failure to comply with its obligations under Civil Code section

      26       1793.2, subdivision (d) was willful, in that Defendant and its representative were aware that

      27       they were unable to service or repair the Vehicle to conform to the applicable express

      28       warranties after a reasonable number of repair attempts, yet Defendant failed and refused to


                                                                3
                                             COMPLAINT; JURY TRIAL DEMANDED
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           promptly replace the Vehicle or make restitution. Accordingly, Plaintiffs are entitled to a civil

       2   penalty of two times Plaintiffs' actual damages pursuant to Civil Code section 1794,

       3   subdivision (c).

       4          14.     Defendant does not maintain a qualified third-party dispute resolution process

       5   which substantially complies with Civil Code section 1793.22. Accordingly, Plaintiffs are

       6   entitled to a civil penalty of two times Plaintiffs' actual damages pursuant to Civil Code

       7   section 1794, subdivision (e).

       8          IS.     Plaintiffs seek civil penalties pursuant to section 1794, subdivisions (c), and (e)

       9   in the alternative and does not seek to cumulate civil penalties, as provided in Civil Code

      10   section 1794, subdivision (1).

C-)                                         SECOND CAUSE OF ACTION

      12                        By PLAINTIFFS AGAINST DEFENDANT FMC

      13           VIOLATION OF SUBDIVISION (B) OF CIVIL CODE SECTION 1793.2

      14          16.     Plaintiffs incorporate by reference the allegations contained in the paragraphs

      15   set forth above.
La
                  17.     Although Plaintiffs presented the Vehicle to Defendant's representative in this

W     17   state, Defendant and its representative failed to commence the service or repairs within a

           reasonable time and failed to service or repair the Vehicle so as to conform to the applicable
Cn

      19   warranties within 30 days, in violation of Civil Code section 1793.2, subdivision (b).

      20   Plaintiffs did not extend the time for completion of repairs beyond the 30-day requirement.

      21          18.     Plaintiffs have been damaged by Defendant's failure to comply with its

      22   obligations pursuant to Civil Code section 1793.2(b), and therefore bring this Cause of Action

      23   pursuant to Civil Code section 1794.

      24          19.     Plaintiffs have rightfully rejected and/or justifiably revoked acceptance of the

      25   Vehicle and have exercised a right to cancel the purchase. By serving this Complaint,

      26   Plaintiffs do so again. Accordingly, Plaintiffs seek the remedies provided in California Civil

      27   Code section 1794(b)(1), including the entire contract price. In the alternative, Plaintiffs seek

      28   the remedies set forth in California Civil Code section 1794(b)(2), including the diminution in


                                                           4
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                value of the Vehicle resulting from its defects. Plaintiffs believe that, at the present time, the

       2        Vehicle's value is dc ,ninunis.

       3                       Defendant's failure to comply with its obligations under Civil Code section

       4        1793.2(b) was willful, in that Defendant and its representative were aware that they were

       5        obligated to service or repair the Vehicle to conform to the applicable express warranties

       6        within 30 days, yet they failed to do so. Accordingly, Plaintiffs are entitled to a civil penalty

       7        of two times Plaintiffs' actual damages pursuant to Civil Code section 1794(c).

       8                                          THIRD CAUSE OF ACTION

       9                             BY PLAINTIFFS AGAINST DEFENDANT FMC

      lO              VIOLATION OF SUBDIVISION (A)(3) OF CIVIL CODE SECTION 1793.2

C-)
                               Plaintiffs incorporate by reference the allegations contained in paragraphs set

      12        forth above.
(ti

      13                       In violation of Civil Code section 1793.2, subdivision (a)(3), Defendant failed

      14    I
                to make available to its authorized service and repair facilities sufficient service literature and

      Is        replacement parts to effect repairs during the express warranty period. Plaintiffs have been

-     16        damaged by Defendant's failure to comply with its obligations pursuant to Civil Code section

      17        1793.2(a)(3), and therefore bring this Cause of Action pursuant to Civil Code section 1794.

      18                       Defendant's failure to comply with its obligations under Civil Code section

      Li'
       n        1793.2, subdivision (a)(3) was wilful, in that Defendant knew of its obligation to provide

      20        literature and replacement parts sufficient to allow its repair facilities to effect repairs during

      21        the warranty period, yet Defendant failed to take any action to correct its failure to comply

      22        with the law. Accordingly, Plaintiffs are entitled to a civil penalty of two times. Plaintiffs'

      23        actual damages; pursuant to Civil Code section 1794(c).

      24        I/I

      25        I/I

      26        I/I

      27        I/I

      28        I/I



                                             COMPLAINT; JURY TRIAL DEMANDED
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                                           FOURTH CAUSE OF ACTION

        2                         BY PLAINTIFFS AGAINST DEFENDANT FMC

        3                        BREACH OF EXPRESS WRITTEN WARRANTY

        4                             (CIV. CODE, § 1791.2, SUBD. (a); § 1794)

        5           24.     Plaintiffs incorporate by reference the allegations contained in paragraphs set

        6 I forth above.

        7           25.     In accordance with Defendant's warranty, Plaintiffs delivered the Vehicle to

        8    Defendant's representative in this state to perform warranty repairs. Plaintiffs did so within a

        9    reasonable time. Each time Plaintiffs delivered the Vehicle, Plaintiffs notified Defendant and

       10    its representative of the characteristics of the Defects. However, the representative failed to

0            repair the Vehicle, breaching the terms of the written warranty on each occasion.
p-.
-      12                   Plaintiffs have been damaged by Defendant's failure to comply with its

       13   obligations under the express warranty, and therefore bring this Cause of Action pursuant to

       14    Civil Code section 1794.


£d: 15                      Defendant's failure to comply with its obligations under the express warranty

             was willful, in that Defendant and its authorized representative were aware that they were
o

       17    obligated to repair the Defects, but they intentionally refused to do so. Accordingly, Plaintiffs

       18    are entitled to a civil penalty of two times of Plaintiffs' actual damages pursuant to Civil Code
U)
       19   section 1794(c).

       20                                        FIFTH CAUSE OF ACTION

       21                               BY PLAINTIFFS AGAINST DEFENDANTS

       22                  BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY

       23                                  (CIV. CODE, § 1791.1; § 1794; §1795.5)

       24           28.     Plaintiffs incorporate by reference the allegations contained in the paragraphs

       25 I set forth above.

       26           29.     Pursuant to Civil Code section 1792, the sale of the Vehicle was accompanied

       27    by Defendant's implied warranty of merchantability. Pursuant to Civil Code section 1791.1,

       28



                                         COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              of the express
            the duration of the implied warranty is coextensive in duration with the duration
                                                                                       exceed one-year.
       2    written warranty provided by Defendant, except that the duration is not to
                                                                                         ty of
       3           30.     Pursuant to Civil Code section 1791.1 (a), the implied warran

                                                                                 each of the following
       4    merchantability means and includes that the Vehicle will comply with
                                                                                   under the contract
       5    requirements: (1) The Vehicle will pass without objection in the trade
                                                                                         goods are used; (3)
       6    description; (2) The Vehicle is fit for the ordinary purposes for which such
                                                                                 Vehicle will conform to
       7    The Vehicle is adequately contained, packaged, and labelled; (4) The

       8    the promises or affirmations of fact made on the container or label.
                                                                                                        d or
       9           31.     At the time of purchase, or within one-year thereafter, the Vehicle containe

                                                                                  defects constitutes a
      10    developed the defects set forth above. The existence of each of these
                                                                                         objection in the
      11    breach of the implied warranty because the Vehicle (1) does not pass without
                                                                                          s for which such
      12    trade under the contract description, (2) is not fit for the ordinary purpose
Ct
                                                                                    , and (4) does not
C-)
      13    goods are used, (3) is not adequately contained, packaged, and labelled
C-)
                                                                                     label.
      14    conform to the promises or affirmations of fact made on the container or
                                                                                         with its
      15            32.    Plaintiffs have been damaged by Defendant's failure to comply
(-5
                                                                                   of Action pursuant to
      16    obligations under the implied warranty, and therefore bring this Cause
C-)
C
       17   Civil Code section 1794.

       18                                       SIXTH CAUSE OF ACTION
Cr

       19                            BY PLAINTIFFS AGAINST DEFENDANT FMC

       20                                          FRAUD BY OMISSION
                                                                                                 in the
       21           33.     Plaintiffs hereby incorporate by reference the allegations contained

       22    preceding paragraphs of this Complaint.
                                                                                                from
       23           34.     Plaintiffs also allege that Defendant Ford concealed a known defect

                                                                                     Engine (hereinafter
       24    Plaintiffs. The defective component is called the 6.4-Liter PowerStroke
                                                                                           ssion systems       .
       25    "6.4L Engine"), in addition to its accompanying cooling, exhaust, and transmi
                                                                                    tured by Navistar, Inc.
       26    The 6.41, Engine is a sequential turbocharged V8 diesel engine manufac
                                                                                   Ford F-250 Super
       27    ("Navistar") and used by Defendant Ford in their 2008-2010 model year

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                                                             7
                                          COMPLAINT; JURY TRIAL DEMANDED
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           Duty, Ford F-350 Super Duty, and Ford F-450 Super Duty trucks (collectively, "Super Duty

      2    Trucks").

      3           35.     Defendant Ford committed fraud by allowing the Vehicle to be sold to Plaintiffs

      4    without disclosing that the Vehicle and its engine was defective and susceptible to sudden and

       5   premature failure.

      6           36.     Defendant Ford marketed and sold 6.41, Engine emphasizing its improved

       7   power and reliability over the outgoing 6.0 Liter PowerStroke Engine, claiming that it had

      8    "been tested the equivalent of 10 million miles on road and in the lab, helping ensure excellent

       9   long-term durability," and that the new engine had been developed using "real-world data"

      10   that "more accurately reflected real-world use." Defendant Ford further claimed that it had

0     II   tested the 6.4L Engine "using the most extreme and abusive conditions and run to five-times

      12   the life cycle that the hardest-working truck would ever experience, further assuring

      13   durability."

      14          37.. Defendant Ford designed the 6.4L Engine in an effort to meet heightened

      15   governmental and consumer expectations for fuel economy, performance, convenience, and

      16   efficiency. Defendant Ford designed and marketed its 6.4L Engine as a more advanced,
0
-

Ld    17   cleaner, and more fuel efficient engine. In Defendant Ford's press release dated October 23,

      18   2007, Ford's Diesel Powertrain Chief Engineer Rick Renwick stated, "No diesel engine has

      19   ever delivered this much power and refinement with such clean emissions." Defendant Ford

      20   claimed that its use of sequential turbos, exhaust gas recirculation ("EGR") coolers, diesel

      21   particulate filter ("DPF"), high-pressure fuel injection system, redesigned exhaust system, and

      22   improved electronic systems resulted in a ninety-seven percent (97%) reduction in particulate

      23   emissions from the outgoing 6.0 Liter PowerStroke Engine. Mr. Renwick also stated that the

      24   6.4L Engine was designed to have "the industry's most robust cooling system to provide

      25   maximum power and torque under extreme operating conditions."

      26          38.     The 6.4L Engine is plagued by numerous problems and safety concerns.

      27           39.    Plaintiffs are informed and believe, and based thereon allege, that the 6.4L

      28   Engine is defective in its design and/or manufacture including, among other problems, issues


                                                           8
                                       COMPLAINT; JURY TRIAL DEMANDED
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          with EGR cooler failure, oil cooler failure, radiator failure, fuel injector failure, coolant

      2   entering the engine ventilation system, blown head gaskets, warped head bolts, and the engine

      3   suffering from a loss of power (the "Engine Defect"). The Engine Defects are of a permanent

      4   nature which cannot be satisfactorily corrected by repairs or replacement of parts to the

      5   engine, cooling system, and related components. Plaintiffs are informed and believe, and

      6   based thereon allege, that Defendant Ford has refused to adequately repair certain defects and

      7   problems during the warranty period, resulting in owners having to personally incur the

      8   associated repair costs when the 6.4L Engines have failed after their warranties' expirations.

      9          40.     The Engine Defect causes unsafe conditions in vehicles equipped with the 6.4L

     10   Engine, including, but not limited the engine losing power while driving and overheating.

0    II   These conditions present a safety hazard because they severely affect the driver's ability to

     12   control the vehicle, and substantially increase the likelihood that the engine will fail, lose

     13   power, and/or cut off during operation, thereby resulting in accidents involving property

     14   damage, personal injury and even death.

     15          41.     On information and belief, the Engine Defect also causes premature wear to the

     16   6.4L Engine's camshaft, manifold, turbos, gaskets, seals, and other components, which results

     17   in premature engine failure and requires expensive repairs, including premature engine

     18   replacement.

     19          42.     Plaintiffs are informed and believe, and based thereon allege, that prior to sale

     20   of the Subject Vehicle, Ford knew, or should have known, about the Engine Defect through its

     2!   exclusive knowledge of non-public, internal data about the Engine Defect, including: pre-

     22   releasing testing data; early consumer complaints about the Engine Defect to Defendant

     23   Ford's dealers who are Ford's agents for vehicle repairs; dealership repair orders; testing

     24   conducted in response to those complaints; technical service bulletins ("TSBs") developed by

     25   Defendant Ford and communicated to its dealers and authorized repair facilities; and other

     26   internal sources of information possessed exclusively by Defendant Ford and its agents.

     27   Nevertheless, Defendant Ford and its agents have actively concealed the Engine Defect, and

     28



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          failed to disclose this defect to Plaintiffs at the time of purchase of the Subject Vehicle or

     2    thereafter.

     3           43.     Because Defendant Ford will not notify the public that the 6.41- Engine is

     4    defective, Plaintiffs (as well as members of the general public) are subjected to dangerous

      5   driving conditions that often occur without warning.

      6          44.     Defendant Ford knew about, and concealed, the Engine Defect present in the

      7   Subject Vehicle, along with the Engine Defect's attendant dangerous safety and drivability

      8   problems, from Plaintiffs at the time of sale, repair, and thereafter. In fact, instead of

      9   repairing the defects in the 6.41, Engine, Ford either refused to acknowledge their existence,

     10   or performed superficial and ineffectual repairs that simply masked the symptoms of the

0    11   Engine Defect.

     12           45.    If Plaintiffs knew about these defects at the time of sale, Plaintiffs would not

     13   have purchased the Subject Vehicle or would have paid substantially less for it.

     14           46.    As a result of Plaintiffs' reliance on Ford and its agent's omissions and/or

     15   misrepresentations, Plaintiffs suffered an ascertainable loss of money, property, and value to

     16   the Subject Vehicle. Additionally, as a result of the Engine Defect, Plaintiffs were harmed

     17   and suffered actual damages in that the Subject Vehicle's engine is substantially certain to fail


P    18   before its expected useful life has run.

                  47.
                                                             -




                         Defendant Ford had superior and exclusive knowledge of the Engine Defect,
     19

     20   and knew or should have known that the Engine Defect was not known or reasonably

     21   discoverable by Plaintiffs, before Plaintiffs purchased the Subject Vehicle.

     22           48.    Plaintiffs are informed and believe and based thereon allege that before

     23   Plaintiffs purchased the Subject Vehicle, Defendant Ford knew about the Engine Defect

     24   through sources not available to consumers, including pre-release testing data, early consumer

     25   complaints about the transmission defects to Ford and its dealers, testing conducted in

     26   response to those complaints, failure rates and replacement part sales data, aggregate data

     27   from Ford dealers, among other internal sources of aggregate information about the problem.

     28



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                   49.     In addition to having access to years of analysis and feedback concerning the

        2   prior 6.OL PowerStroke Engine design, Defendant Ford also acknowledged in its own press

        3   releases the extensive pre-release testing and computer aided modeling, simulation, and

        4   analysis it conducted before bringing the 6.4L Engine to the market.

        5          50.     Defendant Ford internally recognized that the 6.4L Engines had significant

        6   quality, design, manufacture, and reliability issues. Numerous Technical Service Bulletins

        7   ("TSBs") were issued by Defendant Ford to alert automotive technicians about specific

        8   service problem areas, specific repair procedures, and new service techniques relating to the

        9   issues presented by the 6.4L Engine, including, but not limited to, problems with the engine

       10   cooling system, the fuel system, the transmission, the engine itself, and other components. The

C-)    II   TSBs describe several defects common to the 6.4L Engine, and evidence the fact that Ford

       12   was well aware of the problems with these engines. Typically, unless a vehicle owner is

       13   knowledgeable about the NHTSA database, the owner never sees or hears of the TSBs issued

       14   to automotive repair facilities.

       15          51.     Defendant Ford also issued a recall on March 26, 2007 for Super Duty Trucks

       16   equipped with 6.4L Engines for an excessive temperature defect that resulted in a lack of

       17   power or rough operation; unusual noises from the engine or exhaust; white smoke from the

       18   exhaust; and visible flames out of the tailpipe. Also, on March 26, 2007, Defendant Ford

       19   issued a second recall for a wiring defect in Super Duty Trucks that could result in exposed

       20   copper wiring, increasing the risk of fire. These defects and the accompanying symptoms

       21   mirror the common defects and symptoms exhibited by vehicles equipped with 6.4L Engines.

       22          52.     Owners of vehicles equipped with 6.4L Engines notified Defendant Ford of the

       23   6.4L Engine's problems, either directly through Defendant Ford's Customer Relationship

       24   Center or indirectly through Defendant Ford's authorized repair facilities. Defendant Ford has

       25   computer systems whereby it monitors warranty claims, communicates with its authorized

       26   dealers, and monitors the malfunctions and repair records of its vehicles. These systems

       27   include MORS (Master Owner Relations System), AWS (Analytical Warranty System), and

       28   CQIS (Common Quality Indicator System).


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                           Through these systems, Defendant Ford has detailed information regarding

        2   each time a vehicle is brought into a Ford dealership for repair, including but not limited to the

        3   symptoms that required the unit be brought in for service, the diagnosis of the problem, the

        4   repair authorized by Defendant Ford, and the work performed on the vehicle.

        5                  The existence of the Engine Defect is a material fact that a reasonable

        6   consumer would consider when deciding whether to purchase or lease a vehicle equipped with

        7   a 6.4L Engine. Had Plaintiffs known that the Subject Vehicle was equipped with a defective

        8   engine, Plaintiffs would not have purchased the Subject Vehicle equipped with the 6.4L

        9   Engine or would have paid substantially less for it.

       10                  Reasonable consumers, like Plaintiffs, reasonably expect that a vehicle's engine

C-)    11   is safe, will function in a manner that will not pose a safety hazard, and is free from defects.

       12   Plaintiffs further reasonably expect that Ford will not sell or lease vehicles with known safety
C,          defects, such as the Engine Defect, and will disclose any such defects to its consumers when it
       13
C-,
       14   learns of them. They did not expect Defendant Ford to fail to disclose the Engine Defect to
-4
       15   them and to continually deny the defect.
C .
       16                  Defendant Ford has never disclosed the Engine Defect to Plaintiffs prior to the
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       17   purchase of the Subject Vehicle or at any point during ownership of the Subject Vehicle, and


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       19
            Defendant Ford has never instructed its dealerships to disclose the Engine Defect to drivers or

            potential purchasers or lessees of vehicles equipped with the 6.4L Engine.

       20                  The Engine Defect was not known or reasonably discoverable by the Plaintiffs

       21   before purchase or lease, or without experiencing the defect first hand and exposing

       22   themselves to an unreasonable safety risk. In fact, Plaintiffs could not have discovered the

       23   Engine Defect until after Defendant failed to repair the Subject Vehicle following repeated

       24   visits to Defendant's authorize repair facilities.

       25                  Defendant Ford has remained silent even as it issued service bulletins,

       26   conducted internal investigations, and witnessed the failure of the engine in earlier model

       27   years of Super Duty Trucks.

       28



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                           Defendant Ford's failure to notify consumers, dealerships, or auto-technicians

        2   prevents the Engine Defect from being efficiently diagnosed. Drivers are led to believe that

        3   the problems they are experiencing with the engines in their vehicle are actually "normal

        4   characteristics" of the engine. Likewise, the lack of information makes it less likely that

        5   dealerships and auto-technicians will be able to diagnose and fix the Engine Defects, or advise

        6   Plaintiffs about the dangers of driving the Subject Vehicle.

        7                  As a result of Defendant Ford's inaction and silence, Plaintiffs were entirely

        8   unaware that Plaintiffs purchased, and continue to drive, an unsafe and unreliable vehicle. As

        9   Defendant Ford knows, a reasonable person would consider the Engine Defects important and

       10   would not purchase or lease a vehicle equipped with the Engine Defect were the defect

C-)    11   disclosed in advance, or would pay substantially less for the vehicle.

       12                 Despite Defendant Ford's knowledge of the Engine Defect, it continued to

       13   represent that its Super Duty Trucks were of high quality, and trained its dealers throughout

       14   the country to specifically tout the supposedly superior attributes of the 6.4L Engine, without

       15   ever mentioning its troubled history of design, manufacturing, and reliability defects.

       16   Defendant Ford continued to conceal its knowledge of the defective 6.4L Engine in its
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       17   marketing materials, relied upon by Plaintiffs.

       18                 Defendant Ford represented that the 6.4L Engine had a redesigned cast-iron
 )

       19   block and heads that "provide a strong, durable foundation for making power and torque"

       20   capable of operating at "higher pressures [that provide] more efficient combustion, delivering

       21   increased power and cleaner emissions." Defendant Ford further represented that the 6.4L

       22   Engine had a "state-of-the-art, high-pressure common rail fuel injection system" that provided

       23   "instant response for optimized acceleration."

       24                  Additionally, Defendant Ford represented that the 6.4L Engine had an engine

       25   control module that had its durability "increased by two times to insure robustness."

       26                 Defendant Ford also represented that the 6.4L Engine had "the industry's most

       27   robust cooling system to provide maximum power and torque under extreme operating

       28   conditions," with 50% greater water pump flow rate.


                                                              13
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                             At all relevant times. Ford was aware of its inability to repair the defects in the

        2   6.41- Engine.

        3                    Despite having this critical knowledge, Ford failed to disclose it to its

        4   consumers, and continuously treated the symptoms rather than the underlying "root cause" of

        5   the problem.

        6                    Defendant Ford had authorized dealers implement a strategy that allowed the

        7   dealers to take only limited repair measures, such as cleaning or replacing individual

        8   components, which did not properly remedy or resolve the underlying defect. This strategy

        9   reduced Defendant Ford's warranty spending but did nothing to fix the underlying root causes

       10   of the defects. These minor, limited measures merely addressed the symptoms. Moreover,

C      II   these measures misled customers to believe that the underlying problem had been fixed, when

       12   in fact the symptom likely would reoccur on a later date, possibly when the warranty would

       13   have expired, typically forcing the additional expenses to be borne by the customer rather than

       14   by the dealer.

       15                    Defendant Ford accumulated a massive database through which it realized that
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       16   the minor, limited work it was authorizing was inadequate to properly repair these defective
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       17   engines, and major repairs, including engine replacement, were necessary to address these


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       19
            defects.

                             Defendant Ford continued its practice of only authorizing minor, ineffective

       20   repairs of these engine defects. Defendant Ford unfairly benefitted by this practice because

       21   Ford knew that after the warranty expired, the vehicle owner, rather than Ford, would have to

       22   pay for all future repairs.

       p                     Those repair strategies were performed on Plaintiffs' vehicle. Defendant Ford

       24   represented that the repairs would fix the vehicle, despite its knowledge that the repairs

       25   performed would merely postpone the problem in the 6.4L Engine until the engine was out of

       26   warranty.

       27                    Defendant Ford still has not notified Plaintiffs that the Subject Vehicle suffers

       28   from a systemic defect that causes the engine to malfunction.


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                             As a result of Defendant Ford's misconduct, Plaintiffs have suffered and will

         2   continue to suffer actual damages.

         3                        TOLLING OF THE STATUTES OF LIMITATION

         4                   To the extent there are any statutes of limitation applicable to Plaintiffs'

         5   claims—including, without limitation, their express warranty, implied warranty and fraudulent

         6   omission claims—the running of the limitation periods has been tolled by,          inter alia, the

         7   following doctrines or rules: equitable tolling, the discovery rule, the fraudulent concealment

         8   rule, equitable estoppel, the repair rule, and/or class action tolling   (e.g., the American Pipe

         9   rule) arising from the pendency of the    Dame v. Ford Motor Company, United States District

        10   Court, Northern District of Illinois, Case No. 1:13-cv-03594, which was filed on May 14, 2013.

U       11                   Under the tolling rule articulated in   Am. Pipe & Const. Co. v. Utah, 414 U.S.

        12   538, 94 S. Ct. 756,    38 L. Ed. 2d 713 (1974) ("American Pipe"), the filing of a class action

        '3   lawsuit in federal court tolls the statute of limitations for the claims of unnamed class

        14   members until the class certification issue is resolved. In applying     American Pipe tolling to



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             California cases, the California Supreme Court summarized the tolling rule derived from

             American Pipe and stated that the statute of limitations is tolled from the time of
             commencement of the suit to the time of denial of certification for all purported members of the

        18   class.   Jolly v. Eli Lilly & Co., 44 Cal.3d 1103, 1119 (1988). Tolling lasts from the day a class

        19   claim is asserted until the day the suit is conclusively not a class action.   Falk v. Children's

        20   Hosp. Los Angeles, 237 Cal. App. 4th 1454, 1464 (2015).

        21                    The facts alleged in Dame v. Ford Motor Company, United States District

        22   Court, Northern District of Illinois, Case No. 1:13-cv-03594 are substantially similar, if not

        23   identical to the facts alleged herein.

        24                    There is no prejudice to Defendant Ford in gathering evidence to defend against

        25   Plaintiffs' individual claims because the class definition in the class action complaint within

        26   which Plaintiffs were putative class members and the allegations in the class action lawsuit,

        27   Dame v. Ford     Motor Company, United States District Court, Northern District of Illinois, Case

        28   No. 1:13-cv-03594, put Defendant Ford on notice of the facts that give rise to Plaintiffs'

                                                              15
                                           COMPLAINT; JURY TRIAL DEMANDED
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            individual action, the witnesses necessary for Defendant Ford to defend Plaintiffs' individual

        2   action, and the causes of action against Defendant Ford asserted in Plaintiffs' individual action.

        3                  The tolling of Plaintiffs' individual statute of limitations encourages the

        4   protection of efficiency and economy in litigation as promoted by the class action devise, so

        5   that putative class members would not find it necessary to seek to intervene or to join

        6   individually because of fear the class might never be certified or putative class members may

        7   subsequently seek to request exclusion.

        8                  The running of all statute of limitations on each of Plaintiffs' claims asserted

        9   against Ford in the present action were therefore tolled by American-Pipe tolling during the

       10   entire pendency of the   Dame class action (i.e., from the date on which the Dame class action

C-)    11   was filed on May 14, 2013 to the date on which Plaintiffs filed the instant action).

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                                                           PRAYER

        2         PLAINTIFFS PRAY forjudgment against Defendant as follows:

        3                    a. For Plaintiffs' actual damages in an amount according to proof,

        4                    b.   For restitution;

        5                    c. For a civil penalty in the amount of two times Plaintiffs' actual damages

        6                         pursuant to Civil Code section 1794, subdivision (c) or (e);

        7                    d. For any consequential and incidental damages;

        8                    e. For costs of the suit and Plaintiffs' reasonable attorneys' fees pursuant

        9                         to Civil Code section 1794, subdivision (d);

       10                    f. For punitive damages;

U      11                    g. For prejudgment interest at the legal rate; and

       12                    h. For such other relief as the Court may deem proper.
C)
       13                                  DEMAND FOR JURY TRIAL
C-,

       14         Plaintiffs hereby demand a jury trial on all causes of action asserted herein.
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       16 Dated: February 27, 2019                          STRATEGIC LEGAL PRACTICES, APC
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(I)

       19                                            BY:
                                                           TIONNA DOLTh4
       20                                                  Attorney for Plaintiffs CAROL A. RICHIENS
                                                           and GARY T. RTCHENS
       21

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                                       5 Facsimile: (415) 364-6785

                                       6 Attorneys for Defendant
                                         FORD MOTOR COMPANY
                                       7

                                       8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                       9                             FOR THE COUNTY OF LOS ANGELES
                                      10

                                      11 CAROL A. RICHENS and GARY T.                      Case No. 19STCV06716
                                         RICHENS,
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12                                                   DEFENDANT FORD MOTOR
  650 CALIFORNIA STREET, 19TH FLOOR




                                                          Plaintiffs,                      COMPANY’S ANSWER TO PLAINTIFFS’
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13                                                   UNVERIFIED COMPLAINT FOR
         FAX: (415) 364-6785




                                                 vs.                                       VIOLATION OF STATUTORY
                                      14                                                   OBLIGATIONS
                                         FORD MOTOR COMPANY; MCCOY
                                      15 MILLS FORD; and DOES 1 through 10,
                                         inclusive,                                        DEMAND FOR JURY TRIAL
                                      16
                                                          Defendants.
                                      17                                                   Action Filed: February 27, 2019
                                                                                           Trial Date:   None assigned
                                      18

                                      19
                                      20

                                      21          Defendant FORD MOTOR COMPANY (“Ford” or “Defendant”), for itself alone and

                                      22 for no other party, hereby answers the unverified Complaint of Plaintiffs CAROL A. RICHENS

                                      23 and GARY T. RICHENS (“Plaintiffs”) as follows:

                                      24                                       GENERAL DENIAL

                                      25          Under the provisions of §431.30(d) of the California Code of Civil Procedure, Ford

                                      26 denies each and every allegation, both specifically and generally, of each cause of action

                                      27 contained in Plaintiffs’ Complaint on file herein and the whole thereof, and denies that Plaintiffs

                                      28 were damaged in any sum or sums, or at all.

                                                                                           1
                                           DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT . . .
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                                       1                                    AFFIRMATIVE DEFENSES
                                       2          Ford alleges on information and belief, and where information is not available but the
                                       3 failure to allege would result in waiver of the defense, the following affirmative defenses:

                                       4                                FIRST AFFIRMATIVE DEFENSE
                                       5                                        (Failure to State Facts)
                                       6          Plaintiffs’ Complaint, and each and every cause of action alleged therein, fails to state
                                       7 facts sufficient to constitute a cause of action against Ford.

                                       8                              SECOND AFFIRMATIVE DEFENSE
                                       9                                       (No Breach of Warranty)
                                      10          There was no breach of warranty to the extent that Plaintiffs’ concerns were resolved
                                      11 under the warranty or occurred after the expiration of the original express warranty.
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12                                THIRD AFFIRMATIVE DEFENSE
  650 CALIFORNIA STREET, 19TH FLOOR
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13                                               (Estoppel)
         FAX: (415) 364-6785




                                      14          Plaintiffs are estopped from obtaining the relief sought, or pursing any of the claims
                                      15 raised or causes of actions contained in the Complaint, by virtue of Plaintiffs’ acts, failures to

                                      16 act, conduct, representations, admission, and the like.

                                      17                              FOURTH AFFIRMATIVE DEFENSE
                                      18                                                (Waiver)
                                      19          Plaintiffs have waived Plaintiffs’ rights to the claims, causes of action and relief sought
                                      20 in this Complaint against Ford, by virtue of Plaintiffs’ acts, failures to act, conduct,

                                      21 representations, admissions, and the like.

                                      22                                FIFTH AFFIRMATIVE DEFENSE
                                      23                                                (Laches)
                                      24          Plaintiffs have unreasonably delayed the commencement of this action to the prejudice
                                      25 of Ford. Therefore, the Complaint, and each and every cause of action alleged therein is barred,

                                      26 in whole or in part, by the doctrine of laches.

                                      27

                                      28 / / /

                                                                                            2
                                           DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT . . .
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                                       1                                SIXTH AFFIRMATIVE DEFENSE
                                       2                                        (Economic Loss Rule)
                                       3          Plaintiffs’ causes of action have not accrued because Plaintiffs cannot establish that
                                       4 Plaintiffs suffered injury directly from the subject vehicle or products and, therefore, Plaintiffs’

                                       5 contention that the subject vehicle or products failed to adequately perform their functions are

                                       6 barred by the economic loss rule.

                                       7                            SEVENTH AFFIRMATIVE DEFENSE
                                       8                                            (Performance)
                                       9          Prior to the commencement of this action, Ford fully performed, satisfied and discharged
                                      10 all duties and obligations it may have owed to Plaintiffs arising out of any and all agreements,

                                      11 representations or contracts made by it or on its behalf and this action is therefore barred by the
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12 provisions of Civil Code section 1473.
  650 CALIFORNIA STREET, 19TH FLOOR
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13                              EIGHTH AFFIRMATIVE DEFENSE
         FAX: (415) 364-6785




                                      14                           (Abuse, Misuse, Alteration and Improper Care)
                                      15          Plaintiffs and/or others misused, abused, altered and improperly cared for and
                                      16 maintained the subject vehicle contrary to Ford’s approval or consent and Plaintiffs’ damages, if

                                      17 any, were proximately caused by such misuse, alteration, abuse and neglect of the product.

                                      18                               NINTH AFFIRMATIVE DEFENSE
                                      19                              (No Defect in Materials or Workmanship)
                                      20          The damages asserted in Plaintiffs’ Complaint were not the result of any defect in
                                      21 material or workmanship in any vehicle manufactured by Ford. Specifically, Ford alleges that

                                      22 after appropriate discovery, one or more of the stated specific warranty exclusions may be

                                      23 applicable.

                                      24                               TENTH AFFIRMATIVE DEFENSE
                                      25                               (No Timely Revocation of Acceptance)
                                      26          Plaintiffs have no restitution remedy under breach of implied warranty because there
                                      27 was no timely revocation of acceptance before a substantial change in the condition of the

                                      28 goods.

                                                                                            3
                                           DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT . . .
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                                       1                            ELEVENTH AFFIRMATIVE DEFENSE
                                       2                                      (Failure to Maintain Vehicle)
                                       3           Ford alleges that Plaintiffs are precluded from recovery due to failure to maintain and
                                       4 service the subject vehicle in conformance with the requirements and recommendations of the

                                       5 owner’s manual and/or warranty booklet.

                                       6                             TWELFTH AFFIRMATIVE DEFENSE
                                       7         (Disclaimer of Incidental and Consequential Damages and Limitation of Damages)
                                       8           The limited warranty for the subject vehicle at issue limits the damages that may be
                                       9 obtained by Plaintiffs for any alleged breach of warranty such that some, if not all, of the
                                      10 damages sought, including those for incidental or consequential damages, are not recoverable.

                                      11                          THIRTEENTH AFFIRMATIVE DEFENSE
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12                                   (Vehicle Fit for Intended Purpose)
  650 CALIFORNIA STREET, 19TH FLOOR
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13           The subject vehicle was fit for providing transportation at all relevant times hereto.
         FAX: (415) 364-6785




                                      14 Accordingly, Plaintiffs are not entitled to relief for breach of the implied warranty of

                                      15 merchantability. American Suzuki Motor Corp. v. Superior Court, 37 Cal. App. 4th 1291

                                      16 (1995).

                                      17                         FOURTEENTH AFFIRMATIVE DEFENSE
                                      18                                    (Duration of Implied Warranty)
                                      19           The alleged nonconformities did not arise until after the implied warranty expired.
                                      20 Accordingly, Plaintiffs are not entitled to relief for breach of the implied warranty of

                                      21 merchantability. California Civil Code §1791.1(c).

                                      22                            FIFTEENTHAFFIRMATIVE DEFENSE
                                      23                                (Failure to Abide by Terms of Warranty)
                                      24           Claims by Plaintiffs of breach of warranty are barred because of Plaintiffs’ failure to
                                      25 give timely and appropriate notice of any claim of breach of warranty.

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                                           DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT . . .
                                Case 2:19-cv-02490-PJW Document 1-1 Filed 04/02/19 Page 26 of 47 Page ID #:37



                                       1                           SIXTEENTH AFFIRMATIVE DEFENSE
                                       2                               (No Impairment of Use, Value or Safety)
                                       3          The subject vehicle has not been subject to repair for any nonconformity or condition
                                       4 that substantially impaired the use, value or safety of the vehicle.

                                       5                        SEVENTEENTH AFFIRMATIVE DEFENSE
                                       6                                    (Unreasonable Use of Vehicle)
                                       7          Plaintiffs’ claims may be barred by waiver due to Plaintiffs’ unreasonable use of the
                                       8 vehicle after the nonconformity or nonconformities allegedly could not be repaired.

                                       9                         EIGHTEENTH AFFIRMATIVE DEFENSE
                                      10                              (Failure to Use Dispute Resolution Process)
                                      11          Plaintiffs and/or the owner(s) of the subject vehicle received timely notice of the
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                                      12 availability of a third party dispute resolution process, and that no effort was made to use such
  650 CALIFORNIA STREET, 19TH FLOOR
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13 process.
         FAX: (415) 364-6785




                                      14                         NINETEENTH AFFIRMATIVE DEFENSE
                                      15                         (Failure to Provide Reasonable Opportunity to Cure)
                                      16          Plaintiffs failed to provide Ford with a reasonable opportunity to cure any alleged defect
                                      17 as required by 15 U.S.C. §2310(e) and Civil Code §1790, et seq.

                                      18                          TWENTIETH AFFIRMATIVE DEFENSE
                                      19                                       (No Prejudgment Interest)
                                      20          Plaintiffs’ Complaint fails to state facts sufficient to constitute a basis for recovery of
                                      21 prejudgment interest.

                                      22                       TWENTY-FIRST AFFIRMATIVE DEFENSE
                                      23                                             (Business Use)
                                      24          The subject vehicle was not purchased or used primarily for personal, family, or
                                      25 household purposes, and that the business use was by a person, including a partnership, limited

                                      26 liability company, corporation, association, or any other legal entity, to which more than five

                                      27 motor vehicles were registered in this state.

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                                           DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT . . .
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                                       1                     TWENTY-SECOND AFFIRMATIVE DEFENSE
                                       2                                          (Failure to Mitigate)
                                       3          Plaintiffs failed and neglected to use reasonable care to protect themselves and to
                                       4 minimize their losses and damages, if any.

                                       5                       TWENTY-THIRD AFFIRMATIVE DEFENSE
                                       6                                       (No Agency Relationship)
                                       7          Ford denies any allegations of agency contained in Plaintiffs’ Complaint.
                                       8                     TWENTY-FOURTH AFFIRMATIVE DEFENSE
                                       9                                          (Assumption of Risk)
                                      10          Plaintiffs knew about matters giving rise to the Complaint and assumed the risk created
                                      11 thereby.
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                                      12                       TWENTY-FIFTH AFFIRMATIVE DEFENSE
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    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13                                         (Good Faith Conduct)
         FAX: (415) 364-6785




                                      14          Ford has acted in good faith and reasonably with respect to the matters alleged in
                                      15 Plaintiffs’ Complaint, including any evaluation of Plaintiffs’ repurchase request. Consequently,

                                      16 Plaintiffs have no claim for civil penalty for any alleged willful violation.

                                      17                       TWENTY-SIXTH AFFIRMATIVE DEFENSE
                                      18                                         (Doctrine of Consent)
                                      19          Plaintiffs are barred from recovering the relief sought by reason of the doctrine of
                                      20 consent.

                                      21                    TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                                      22                                         (Statute of Limitations)
                                      23          Plaintiffs’ Complaint and each cause of action contained therein does not state facts
                                      24 sufficient to constitute a cause of action in that the Complaint and each cause of action is barred

                                      25 by the applicable statute of limitations, including, but not limited to, those stated in Part II, Title

                                      26 2, Chapter 3 of the California Code of Civil Procedure, §§335 through 346.4, California Civil

                                      27 Code, §§1783, 1791.1, 1793.2, and 1793.22, California Commercial Code, §2725, and Business

                                      28 and Professions Code, §17208.

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                                           DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT . . .
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                                       1                     TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                                       2                                        (Warranty Exclusions)
                                       3          Plaintiffs’ action for breach of warranty is barred by the terms, conditions, disclaimers
                                       4 and exclusions of the warranty, if any; moreover, Plaintiffs have failed to comply with all

                                       5 obligations under the warranty, if any, to include, but not limited to, timely notice, proper

                                       6 maintenance and appropriate use.

                                       7                       TWENTY-NINTH AFFIRMATIVE DEFENSE
                                       8                                         (Civil Penalty Barred)
                                       9          Any prayer made by Plaintiffs for a civil penalty pursuant to Civil Code §1794(e) is
                                      10 barred because Ford maintains a qualified third party dispute resolution process, which

                                      11 substantially complies with subdivision (d) of §1793.22 of the Civil Code. Further, Plaintiffs
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                                      12 failed to serve the notice required for recovery of a civil penalty under this provision.
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    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13                           THIRTIETH AFFIRMATIVE DEFENSE
         FAX: (415) 364-6785




                                      14                                        (Spoliation of Evidence)
                                      15          This action is barred or limited because of the altering, spoiling, damaging, destruction,
                                      16 or losing of evidence by Plaintiffs, which thereby has reduced the likelihood that this action will

                                      17 result in a reliable adjudication of facts, and impairs Ford’s right to a fair opportunity to

                                      18 adjudicate its alleged liability.

                                      19                        THIRTY-FIRST AFFIRMATIVE DEFENSE
                                      20                                      (Failure to Properly Notify)
                                      21          Plaintiffs have failed to properly provide timely notice, within a reasonable period of
                                      22 time after discovery of Plaintiffs’ claims and alleged defects. Consequently, Ford has been

                                      23 damaged and prejudiced, barring the Complaint, and each cause of action therein, as a matter of

                                      24 law.

                                      25                      THIRTY-SECOND AFFIRMATIVE DEFENSE
                                      26                                              (No Breach)
                                      27          Defendant performed all duties owed under the warranty other than any duties that were
                                      28 prevented or excused. Accordingly, there has been no breach of warranty.

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                                           DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT . . .
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                                       1                       THIRTY-THIRD AFFIRMATIVE DEFENSE
                                       2                                           (Statute of Frauds)
                                       3          To the extent Plaintiffs are suing for breach of an oral representation or contract, such an
                                       4 oral representation or contract would be unenforceable pursuant to Civil Code

                                       5 section 1624(a)(1-7).

                                       6                      THIRTY-FOURTH AFFIRMATIVE DEFENSE
                                       7                          (Qualified Third Party Dispute Resolution Process)
                                       8          Defendant maintained a qualified third party dispute resolution process at the time the
                                       9 subject vehicle was purchased that substantially complied with Section 1793.2 of the California
                                      10 Civil Code. Defendant is informed and believes and thereon alleges Plaintiffs received timely

                                      11 and appropriate notification, in writing, of the availability of the third party resolution process.
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                                      12 Accordingly, since Plaintiffs did not avail themselves of the third party dispute resolution
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    SAN FRANCISCO, CA 94108-2736
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                                      13 process prior to filing this litigation, Section 1794(e)(2) of the California Civil Code may bar
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                                      14 Plaintiffs from recovering damages for (i) attorney fees, (ii) costs, and (iii) treble damages (as

                                      15 provided under California Civil Code Section 1794(e)), and Plaintiffs may not avail themselves

                                      16 of the rebuttable presumption pursuant to California Civil Code Section 1793.2(e)(1).

                                      17                        THIRTY-FIFTH AFFIRMATIVE DEFENSE
                                      18                             (Arbitration Clause in Purchase Agreement)
                                      19          The purchase or lease agreement for the subject vehicle, signed by Plaintiffs, includes an
                                      20 agreement to arbitrate. Plaintiffs have thus agreed to resolve this dispute by neutral, binding

                                      21 arbitration and not by court action.

                                      22                        THIRTY-SIXTH AFFIRMATIVE DEFENSE
                                      23                                             (Preemption)
                                      24          The Complaint and each and every cause of action therein, in whole or in part, are
                                      25 preempted by the Federal National Traffic and Motor Vehicle Safety Act pursuant to 49 U.S.C.

                                      26 sections 30118 et seq.

                                      27

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                                           DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT . . .
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                                       1                    THIRTY-SEVENTH AFFIRMATIVE DEFENSE
                                       2                               (Constitutionality of Punitive Damages)
                                       3          Plaintiffs’ claims are in contravention of Ford’s rights under applicable clauses of the
                                       4 United States and California Constitutions, including without limitation the following

                                       5 provisions: (a) said claims constitute an impermissible burden on interstate commerce in

                                       6 contravention of Article I, Section 8 of the United States Constitution; (b) said claims

                                       7 contravene the Excessive Fines Clause of the Eighth Amendment of the United States

                                       8 Constitution; (c) said claims violate Ford’s right to Due Process under the Fourteenth

                                       9 Amendment of the United States Constitution; (d) said claims contravene the constitutional
                                      10 prohibition against vague and overbroad laws; and (e) said claims contravene the Due Process

                                      11 Clause of the California Constitution.
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                                      12                      THIRTY-EIGHTH AFFIRMATIVE DEFENSE
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    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13                       (Punitive Damages Improperly Pled/Not Recoverable)
         FAX: (415) 364-6785




                                      14          Plaintiffs have not properly pled a claim for punitive damages and these damages are not
                                      15 recoverable based on the facts contained in Plaintiffs’ Complaint, or are otherwise barred by the

                                      16 provisions of California Civil Code sections 3294, 3295, and 3296, or such conduct was not

                                      17 adopted, ratified or authorized by Ford under California Civil Code section 3294(b).

                                      18                       THIRTY-NINTH AFFIRMATIVE DEFENSE
                                      19                  (Punitive Damages Impermissible For Extra-Territorial Conduct)
                                      20          Any award of punitive damages based on anything other than Ford’s conduct in
                                      21 connection with the design, manufacture, and sale of the subject vehicle or products that are the

                                      22 subject of this lawsuit would violate the due process clause of the Fourteenth Amendment to the

                                      23 United States Constitution because any other judgment for punitive damages in this case cannot

                                      24 protect Ford against impermissible multiple punishment for the same wrong and against

                                      25 punishment for extra-territorial conduct.

                                      26

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                                           DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT . . .
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                                       1                            FORTIETH AFFIRMATIVE DEFENSE
                                       2                                (Punitive Damages Unconstitutional)
                                       3          An award of punitive or exemplary damages to Plaintiffs would violate Ford’s
                                       4 constitutional rights under the provisions of the United States and California Constitutions,

                                       5 including but not limited to the Due Process Clause of the Fifth and Fourteenth Amendments to

                                       6 the United States Constitution and Article I, Section 7 of the California Constitution because,

                                       7 among other things, (1) any award of punitive or exemplary damages would be grossly out of

                                       8 proportion to the alleged wrongful conduct and purported injury at issue here; (2) there is no

                                       9 legitimate state interest in punishing the alleged wrongful conduct at issue here, or in deterring
                                      10 its possible repetition; (3) the alleged wrongful conduct at issue here is lawful in other

                                      11 jurisdictions; (4) the alleged wrongful conduct at issue here is not sufficiently reprehensible to
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                                      12 warrant the imposition of any punitive or exemplary damages; and (5) the criteria for the
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    SAN FRANCISCO, CA 94108-2736
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                                      13 imposition of punitive or exemplary damage are unconstitutionally vague and uncertain and fail
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                                      14 to provide fair notice of what conduct will result in the imposition of such damages.

                                      15                         FORTY-FIRST AFFIRMATIVE DEFENSE
                                      16                       (Clear and Convincing Standard for Punitive Damages)
                                      17          Ford alleges that any predicate liability finding for the imposition of punitive damages
                                      18 or a finding of the amount of any punitive damage award based upon a burden of proof of less

                                      19 than clear and convincing evidence violates due process and is unconstitutional.
                                      20                      FORTY-SECOND AFFIRMATIVE DEFENSE
                                      21                         (Punitive Damages – Financial Status of Defendant)
                                      22          To the extent that California law permits punishment to be measured by the net worth or
                                      23 financial status of Ford and allows the fact finder to impose greater punishment on defendants

                                      24 with larger net worth, such an award would be unconstitutional because it permits arbitrary,

                                      25 capricious and fundamentally unfair punishments, allows bias and prejudice to infect verdicts

                                      26 imposing punishment, allows punishment to be imposed based on lawful profits and conduct of

                                      27 Ford in other States, and allows dissimilar treatment of similarly situated defendants, in

                                      28 violation of the due process and equal protection provisions of the Fourteenth Amendment to

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                                           DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT . . .
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                                       1 the United States Constitution, the Commerce Clause of the United States Constitution, and the

                                       2 California Constitution.

                                       3                        FORTY-THIRD AFFIRMATIVE DEFENSE
                                       4                                               (Set Off)
                                       5          Ford alleges that if it is established that Ford is in any manner legally responsible for any
                                       6 of the damages claimed by Plaintiffs, which is denied, Ford is entitled to a set off of those

                                       7 damages, if any, which resulted from the wrongful acts of Plaintiffs and/or others.

                                       8                      FORTY-FOURTH AFFIRMATIVE DEFENSE
                                       9                                           (Fees and Costs)
                                      10          Ford is informed and believes, and on that basis alleges, that the Complaint was brought
                                      11 without reasonable cause and without a good faith belief that there was a justifiable controversy
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                                      12 under the facts or the law which warranted the filing of the Complaint against Ford. Plaintiffs
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    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13 should therefore be responsible for all of Ford’s necessary and reasonable attorney fees and
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                                      14 defense costs as permitted by California law.

                                      15                         FORTY-FIFTH AFFIRMATIVE DEFENSE
                                      16                                         (Additional Defenses)
                                      17          Ford alleges that it may have additional affirmative defenses available to it of which it is
                                      18 not now fully aware. Ford reserves the right to assert affirmative defenses after the same shall

                                      19 have been ascertained.
                                      20

                                      21                                               PRAYER
                                      22          WHEREFORE, Ford prays as follows:
                                      23          1.     For dismissal of Plaintiffs’ Complaint with prejudice;
                                      24          2.     For judgment in favor of Ford against Plaintiffs;
                                      25          3.     For Ford’s fees and costs of suit herein; and
                                      26          4.     For such other and further relief as the Court may deem just and proper.
                                      27

                                      28 / / /

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                                           DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT . . .
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                                       1                                  DEMAND FOR JURY TRIAL
                                       2          Ford hereby demands a jury trial on all claims asserted by Plaintiffs.
                                       3

                                       4 Dated: April 1, 2019                           SCHNADER HARRISON SEGAL & LEWIS LLP
                                       5

                                       6                                                By:
                                                                                              CHARLES F. HARLOW
                                       7                                                      Attorneys for Defendant
                                                                                              FORD MOTOR COMPANY
                                       8

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                                      12
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         FAX: (415) 364-6785




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                                           DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT . . .
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                                       1                                      PROOF OF SERVICE
                                       2         I declare under penalty of perjury under the laws of the State of California that the
                                       3 following is true and correct: I am employed in the City and County of San Francisco, State of
                                         California, in the office of a member of the bar of this court, at whose direction the service was
                                       4 made. I am a citizen of the United States, over the age of eighteen (18) years, and not a party to
                                         or interested in the within-entitled cause. My business address is SCHNADER HARRISON SEGAL &
                                       5 LEWIS LLP, 650 California Street, 19th Floor, San Francisco, California 94108-2736.

                                       6         I caused to be served the following document and by the following means:
                                       7       DEFENDANT FORD MOTOR COMPANY’S ANSWER TO PLAINTIFFS’
                                               UNVERIFIED COMPLAINT FOR VIOLATION OF STATUTORY OBLIGATIONS
                                       8
                                           ⌧     By U.S. Mail: I enclosed a true and correct copy of said document in an envelope with
                                       9         postage fully pre-paid and placed it for collection and mailing with the United States
                                                 Post Office on the date set forth below, following the ordinary business practice,
                                      10         addressed as follows:
                                      11               Tionna Dolin, Esq.
                                                       Strategic Legal Practices, APC
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12               1840 Century Park East, Suite 430
  650 CALIFORNIA STREET, 19TH FLOOR




                                                       Los Angeles, CA 90067
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13               T: 310-929-4900
         FAX: (415) 364-6785




                                                       F: 310-943-3838
                                      14
                                                       Counsel for Plaintiffs
                                      15               Carol A. Richens and Gary T. Richens
                                      16
                                                I am readily familiar with my firm’s practice for collection and processing of
                                      17 correspondence for delivery in the manner indicated above, to wit, that correspondence will be
                                         deposited for collection in the above-described manner this same day in the ordinary course of
                                      18 business.

                                      19         Executed on April 1, 2019, at San Francisco, California.
                                      20

                                      21
                                                                                       By:
                                      22                                                            Steven G. Davenport

                                      23

                                      24

                                      25

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                                           PROOF OF SERVICE
                                Case 2:19-cv-02490-PJW Document 1-1 Filed 04/02/19 Page 35 of 47 Page ID #:46



                                       1 STEPHEN H. DYE (SBN 104385)
                                          e-mail: sdye@schnader.com
                                       2 CHARLES F. HARLOW (SBN 200702)
                                          e-mail: charlow@schnader.com
                                       3 SCHNADER HARRISON SEGAL & LEWIS LLP
                                         650 California Street, 19th Floor
                                       4 San Francisco, California 94108-2736
                                         Telephone: (415) 364-6700
                                       5 Facsimile: (415) 364-6785

                                       6 Attorneys for Defendant
                                         MCCOY & MILLS dba MCCOY MILLS FORD and
                                       7 incorrectly named in the Complaint as McCoy Mills Ford

                                       8

                                       9                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                      10                             FOR THE COUNTY OF LOS ANGELES
                                      11
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12 CAROL A. RICHENS and GARY T.                      Case No. 19STCV06716
  650 CALIFORNIA STREET, 19TH FLOOR




                                         RICHENS,
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13                                                   DEFENDANT MCCOY & MILLS DBA
         FAX: (415) 364-6785




                                                          Plaintiffs,                      MCCOY MILLS FORD’S ANSWER TO
                                      14                                                   PLAINTIFFS’ UNVERIFIED
                                                 vs.                                       COMPLAINT FOR VIOLATION OF
                                      15                                                   STATUTORY OBLIGATIONS
                                         FORD MOTOR COMPANY; MCCOY
                                      16 MILLS FORD; and DOES 1 through 10,                DEMAND FOR JURY TRIAL
                                         inclusive,
                                      17
                                                          Defendants.                      Action Filed: February 27, 2019
                                      18                                                   Trial Date:   None assigned
                                      19
                                      20         Defendant MCCOY & MILLS dba MCCOY MILLS FORD, and incorrectly named in

                                      21 the complaint as McCoy Mills Ford (“McCoy Mills” or “Defendant”), for itself alone and for no

                                      22 other party, hereby answers the unverified Complaint of Plaintiffs CAROL A. RICHENS and

                                      23 GARY T. RICHENS (“Plaintiffs”) as follows:

                                      24                                       GENERAL DENIAL

                                      25         Under the provisions of §431.30(d) of the California Code of Civil Procedure, McCoy

                                      26 Mills denies each and every allegation, both specifically and generally, of each cause of action

                                      27 contained in Plaintiffs’ Complaint on file herein and the whole thereof, and denies that Plaintiffs

                                      28 were damaged in any sum or sums, or at all.

                                                                                           1
                                           MCCOY MILLS FORD’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT FOR DAMAGES
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                                       1                                    AFFIRMATIVE DEFENSES
                                       2          McCoy Mills alleges on information and belief, and where information is not available
                                       3 but the failure to allege would result in waiver of the defense, the following affirmative

                                       4 defenses:

                                       5                                FIRST AFFIRMATIVE DEFENSE
                                       6                                        (Failure to State Facts)
                                       7          Plaintiffs’ Complaint, and each and every cause of action alleged therein, fails to state
                                       8 facts sufficient to constitute a cause of action against McCoy Mills.

                                       9                              SECOND AFFIRMATIVE DEFENSE
                                      10                                       (No Breach of Warranty)
                                      11          There was no breach of warranty to the extent that Plaintiffs’ concerns were resolved
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                                      12 under the warranty or occurred after the expiration of the original express warranty.
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      TELEPHONE: (415) 364-6700




                                      13                                THIRD AFFIRMATIVE DEFENSE
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                                      14                                               (Estoppel)
                                      15          Plaintiffs are estopped from obtaining the relief sought, or pursing any of the claims
                                      16 raised or causes of actions contained in the Complaint, by virtue of Plaintiffs’ acts, failures to

                                      17 act, conduct, representations, admission, and the like.

                                      18                              FOURTH AFFIRMATIVE DEFENSE
                                      19                                               (Waiver)
                                      20          Plaintiffs have waived Plaintiffs’ rights to the claims, causes of action and relief sought
                                      21 in this Complaint against McCoy Mills, by virtue of Plaintiffs’ acts, failures to act, conduct,

                                      22 representations, admissions, and the like.

                                      23                                FIFTH AFFIRMATIVE DEFENSE
                                      24                                               (Laches)
                                      25          Plaintiffs have unreasonably delayed the commencement of this action to the prejudice
                                      26 of McCoy Mills. Therefore, the Complaint, and each and every cause of action alleged therein

                                      27 is barred, in whole or in part, by the doctrine of laches.

                                      28

                                                                                            2
                                           MCCOY MILLS FORD’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT FOR DAMAGES
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                                       1                                SIXTH AFFIRMATIVE DEFENSE
                                       2                                        (Economic Loss Rule)
                                       3         Plaintiffs’ causes of action have not accrued because Plaintiffs cannot establish that
                                       4 Plaintiffs suffered injury directly from the subject vehicle or products and, therefore, Plaintiffs’

                                       5 contention that the subject vehicle or products failed to adequately perform their functions are

                                       6 barred by the economic loss rule.

                                       7                            SEVENTH AFFIRMATIVE DEFENSE
                                       8                                            (Performance)
                                       9         Prior to the commencement of this action, McCoy Mills fully performed, satisfied and
                                      10 discharged all duties and obligations it may have owed to Plaintiffs arising out of any and all

                                      11 agreements, representations or contracts made by it or on its behalf and this action is therefore
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                                      12 barred by the provisions of Civil Code section 1473.
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    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13                              EIGHTH AFFIRMATIVE DEFENSE
         FAX: (415) 364-6785




                                      14                           (Abuse, Misuse, Alteration and Improper Care)
                                      15         Plaintiffs and/or others misused, abused, altered and improperly cared for and
                                      16 maintained the subject vehicle contrary to McCoy Mills’ approval or consent and Plaintiffs’

                                      17 damages, if any, were proximately caused by such misuse, alteration, abuse and neglect of the

                                      18 product.

                                      19                               NINTH AFFIRMATIVE DEFENSE
                                      20                              (No Defect in Materials or Workmanship)
                                      21         The damages asserted in Plaintiffs’ Complaint were not the result of any defect in
                                      22 material or workmanship in any vehicle manufactured by Ford. Specifically, McCoy Mills

                                      23 alleges that after appropriate discovery, one or more of the stated specific warranty exclusions

                                      24 may be applicable.

                                      25

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                                           MCCOY MILLS FORD’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT FOR DAMAGES
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                                       1                                TENTH AFFIRMATIVE DEFENSE
                                       2                                (No Timely Revocation of Acceptance)
                                       3           Plaintiffs have no restitution remedy under breach of implied warranty because there
                                       4 was no timely revocation of acceptance before a substantial change in the condition of the

                                       5 goods.

                                       6                            ELEVENTH AFFIRMATIVE DEFENSE
                                       7                                      (Failure to Maintain Vehicle)
                                       8           McCoy Mills alleges that Plaintiffs are precluded from recovery due to failure to
                                       9 maintain and service the subject vehicle in conformance with the requirements and
                                      10 recommendations of the owner’s manual and/or warranty booklet.

                                      11                             TWELFTH AFFIRMATIVE DEFENSE
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12          (Disclaimer of Incidental and Consequential Damages and Limitation of Damages)
  650 CALIFORNIA STREET, 19TH FLOOR
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13           The limited warranty for the subject vehicle at issue limits the damages that may be
         FAX: (415) 364-6785




                                      14 obtained by Plaintiffs for any alleged breach of warranty such that some, if not all, of the

                                      15 damages sought, including those for incidental or consequential damages, are not recoverable.

                                      16                          THIRTEENTH AFFIRMATIVE DEFENSE
                                      17                                   (Vehicle Fit for Intended Purpose)
                                      18           The subject vehicle was fit for providing transportation at all relevant times hereto.
                                      19 Accordingly, Plaintiffs are not entitled to relief for breach of the implied warranty of
                                      20 merchantability. American Suzuki Motor Corp. v. Superior Court, 37 Cal. App. 4th 1291

                                      21 (1995).

                                      22                         FOURTEENTH AFFIRMATIVE DEFENSE
                                      23                                    (Duration of Implied Warranty)
                                      24           The alleged nonconformities did not arise until after the implied warranty expired.
                                      25 Accordingly, Plaintiffs are not entitled to relief for breach of the implied warranty of

                                      26 merchantability. California Civil Code §1791.1(c).

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                                           MCCOY MILLS FORD’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT FOR DAMAGES
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                                       1                           FIFTEENTHAFFIRMATIVE DEFENSE
                                       2                              (Failure to Abide by Terms of Warranty)
                                       3         Claims by Plaintiffs of breach of warranty are barred because of Plaintiffs’ failure to
                                       4 give timely and appropriate notice of any claim of breach of warranty.

                                       5                           SIXTEENTHAFFIRMATIVE DEFENSE
                                       6                              (No Impairment of Use, Value or Safety)
                                       7         The subject vehicle has not been subject to repair for any nonconformity or condition
                                       8 that substantially impaired the use, value or safety of the vehicle.

                                       9                       SEVENTEENTH AFFIRMATIVE DEFENSE
                                      10                                   (Unreasonable Use of Vehicle)
                                      11         Plaintiffs’ claims may be barred by waiver due to Plaintiffs’ unreasonable use of the
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12 vehicle after the nonconformity or nonconformities allegedly could not be repaired.
  650 CALIFORNIA STREET, 19TH FLOOR
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13                         EIGHTEENTH AFFIRMATIVE DEFENSE
         FAX: (415) 364-6785




                                      14                             (Failure to Use Dispute Resolution Process)
                                      15         Plaintiffs and/or the owner(s) of the subject vehicle received timely notice of the
                                      16 availability of a third party dispute resolution process, and that no effort was made to use such

                                      17 process.

                                      18                         NINETEENTH AFFIRMATIVE DEFENSE
                                      19                         (Failure to Provide Reasonable Opportunity to Cure)
                                      20         Plaintiffs failed to provide Ford with a reasonable opportunity to cure any alleged defect
                                      21 as required by 15 U.S.C. §2310(e) and Civil Code §1790, et seq.

                                      22                          TWENTIETH AFFIRMATIVE DEFENSE
                                      23                                      (No Prejudgment Interest)
                                      24         Plaintiffs’ Complaint fails to state facts sufficient to constitute a basis for recovery of
                                      25 prejudgment interest.

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                                           MCCOY MILLS FORD’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT FOR DAMAGES
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                                       1                      TWENTY-FIRST AFFIRMATIVE DEFENSE
                                       2                                           (Business Use)
                                       3         The subject vehicle was not purchased or used primarily for personal, family, or
                                       4 household purposes, and that the business use was by a person, including a partnership, limited

                                       5 liability company, corporation, association, or any other legal entity, to which more than five

                                       6 motor vehicles were registered in this state.

                                       7                    TWENTY-SECOND AFFIRMATIVE DEFENSE
                                       8                                        (Failure to Mitigate)
                                       9         Plaintiffs failed and neglected to use reasonable care to protect themselves and to
                                      10 minimize their losses and damages, if any.

                                      11                      TWENTY-THIRD AFFIRMATIVE DEFENSE
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12                                     (No Agency Relationship)
  650 CALIFORNIA STREET, 19TH FLOOR
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13         McCoy Mills denies any allegations of agency contained in Plaintiffs’ Complaint.
         FAX: (415) 364-6785




                                      14                    TWENTY-FOURTH AFFIRMATIVE DEFENSE
                                      15                                        (Assumption of Risk)
                                      16         Plaintiffs knew about matters giving rise to the Complaint and assumed the risk created
                                      17 thereby.

                                      18                      TWENTY-FIFTH AFFIRMATIVE DEFENSE
                                      19                                        (Good Faith Conduct)
                                      20         McCoy Mills has acted in good faith and reasonably with respect to the matters alleged
                                      21 in Plaintiffs’ Complaint, including any evaluation of Plaintiffs’ repurchase request.

                                      22 Consequently, Plaintiffs have no claim for civil penalty for any alleged willful violation.

                                      23                      TWENTY-SIXTH AFFIRMATIVE DEFENSE
                                      24                                        (Doctrine of Consent)
                                      25         Plaintiffs are barred from recovering the relief sought by reason of the doctrine of
                                      26 consent.

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                                           MCCOY MILLS FORD’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT FOR DAMAGES
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                                       1                    TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                                       2                                        (Statute of Limitations)
                                       3          Plaintiffs’ Complaint and each cause of action contained therein does not state facts
                                       4 sufficient to constitute a cause of action in that the Complaint and each cause of action is barred

                                       5 by the applicable statute of limitations, including, but not limited to, those stated in Part II, Title

                                       6 2, Chapter 3 of the California Code of Civil Procedure, §§335 through 346.4, California Civil

                                       7 Code, §§1783, 1791.1, 1793.2, and 1793.22, California Commercial Code, §2725, and Business

                                       8 and Professions Code, §17208.

                                       9                     TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                                      10                                         (Warranty Exclusions)
                                      11          Plaintiffs’ action for breach of warranty is barred by the terms, conditions, disclaimers
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                                      12 and exclusions of the warranty, if any; moreover, Plaintiffs have failed to comply with all
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    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13 obligations under the warranty, if any, to include, but not limited to, timely notice, proper
         FAX: (415) 364-6785




                                      14 maintenance and appropriate use.

                                      15                       TWENTY-NINTH AFFIRMATIVE DEFENSE
                                      16                                         (Civil Penalty Barred)
                                      17          Any prayer made by Plaintiffs for a civil penalty pursuant to Civil Code §1794(e) is
                                      18 barred because McCoy Mills maintains a qualified third party dispute resolution process, which

                                      19 substantially complies with subdivision (d) of §1793.22 of the Civil Code. Further, Plaintiffs
                                      20 failed to serve the notice required for recovery of a civil penalty under this provision.

                                      21                           THIRTIETH AFFIRMATIVE DEFENSE
                                      22                                        (Spoliation of Evidence)
                                      23          This action is barred or limited because of the altering, spoiling, damaging, destruction,
                                      24 or losing of evidence by Plaintiffs, which thereby has reduced the likelihood that this action will

                                      25 result in a reliable adjudication of facts, and impairs McCoy Mills’ right to a fair opportunity to

                                      26 adjudicate its alleged liability.

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                                           MCCOY MILLS FORD’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT FOR DAMAGES
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                                       1                         THIRTY-FIRST AFFIRMATIVE DEFENSE
                                       2                                      (Failure to Properly Notify)
                                       3          Plaintiffs have failed to properly provide timely notice, within a reasonable period of
                                       4 time after discovery of his claims and alleged defects. Consequently, McCoy Mills has been

                                       5 damaged and prejudiced, barring the Complaint, and each cause of action therein, as a matter of

                                       6 law.

                                       7                      THIRTY-SECOND AFFIRMATIVE DEFENSE
                                       8                                              (No Breach)
                                       9          Defendant performed all duties owed under the warranty other than any duties that were
                                      10 prevented or excused. Accordingly, there has been no breach of warranty.

                                      11                       THIRTY-THIRD AFFIRMATIVE DEFENSE
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12                                           (Statute of Frauds)
  650 CALIFORNIA STREET, 19TH FLOOR
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13          To the extent Plaintiffs are suing for breach of an oral representation or contract, such an
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                                      14 oral representation or contract would be unenforceable pursuant to Civil Code

                                      15 section 1624(a)(1-7).

                                      16                      THIRTY-FOURTH AFFIRMATIVE DEFENSE
                                      17                          (Qualified Third Party Dispute Resolution Process)
                                      18          Defendant maintained a qualified third party dispute resolution process at the time the
                                      19 subject vehicle was purchased that substantially complied with Section 1793.2 of the California
                                      20 Civil Code. Defendant is informed and believes and thereon alleges Plaintiffs received timely

                                      21 and appropriate notification, in writing, of the availability of the third party resolution process.

                                      22 Accordingly, since Plaintiffs did not avail themselves of the third party dispute resolution

                                      23 process prior to filing this litigation, Section 1794(e)(2) of the California Civil Code may bar

                                      24 Plaintiffs from recovering damages for (i) attorney fees, (ii) costs, and (iii) treble damages (as

                                      25 provided under California Civil Code Section 1794(e)), and Plaintiffs may not avail themselves

                                      26 of the rebuttable presumption pursuant to California Civil Code Section 1793.2(e)(1).

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                                           MCCOY MILLS FORD’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT FOR DAMAGES
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                                       1                       THIRTY-FIFTH AFFIRMATIVE DEFENSE
                                       2                            (Arbitration Clause in Purchase Agreement)
                                       3         The purchase or lease agreement for the subject vehicle, signed by Plaintiffs, includes an
                                       4 agreement to arbitrate. Plaintiffs have thus agreed to resolve this dispute by neutral, binding

                                       5 arbitration and not by court action.

                                       6                       THIRTY-SIXTH AFFIRMATIVE DEFENSE
                                       7                                            (Preemption)
                                       8         The Complaint and each and every cause of action therein, in whole or in part, are
                                       9 preempted by the Federal National Traffic and Motor Vehicle Safety Act pursuant to 49 U.S.C.
                                      10 sections 30118 et seq.

                                      11                    THIRTY-SEVENTHAFFIRMATIVE DEFENSE
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12                              (Constitutionality of Punitive Damages)
  650 CALIFORNIA STREET, 19TH FLOOR
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13         Plaintiffs’ claims are in contravention of McCoy Mills’ rights under applicable clauses
         FAX: (415) 364-6785




                                      14 of the United States and California Constitutions, including without limitation the following

                                      15 provisions: (a) said claims constitute an impermissible burden on interstate commerce in

                                      16 contravention of Article I, Section 8 of the United States Constitution; (b) said claims

                                      17 contravene the Excessive Fines Clause of the Eighth Amendment of the United States

                                      18 Constitution; (c) said claims violate McCoy Mills’ right to Due Process under the Fourteenth

                                      19 Amendment of the United States Constitution; (d) said claims contravene the constitutional
                                      20 prohibition against vague and overbroad laws; and (e) said claims contravene the Due Process

                                      21 Clause of the California Constitution.

                                      22                     THIRTY-EIGHTH AFFIRMATIVE DEFENSE
                                      23                       (Punitive Damages Improperly Pled/Not Recoverable)
                                      24         Plaintiffs have not properly pled a claim for punitive damages and these damages are not
                                      25 recoverable based on the facts contained in Plaintiffs’ Complaint, or are otherwise barred by the

                                      26 provisions of California Civil Code sections 3294, 3295, and 3296, or such conduct was not

                                      27 adopted, ratified or authorized by Ford under California Civil Code section 3294(b).

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                                           MCCOY MILLS FORD’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT FOR DAMAGES
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                                       1                       THIRTY-NINTH AFFIRMATIVE DEFENSE
                                       2                  (Punitive Damages Impermissible For Extra-Territorial Conduct)
                                       3          Any award of punitive damages based on anything other than McCoy Mills’ conduct in
                                       4 connection with the design, manufacture, and sale of the subject vehicle or products that are the

                                       5 subject of this lawsuit would violate the due process clause of the Fourteenth Amendment to the

                                       6 United States Constitution because any other judgment for punitive damages in this case cannot

                                       7 protect McCoy Mills against impermissible multiple punishment for the same wrong and

                                       8 against punishment for extra-territorial conduct.

                                       9                            FORTIETHAFFIRMATIVE DEFENSE
                                      10                                (Punitive Damages Unconstitutional)
                                      11          An award of punitive or exemplary damages to Plaintiffs would violate McCoy Mills’
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                                      12 constitutional rights under the provisions of the United States and California Constitutions,
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    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13 including but not limited to the Due Process Clause of the Fifth and Fourteenth Amendments to
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                                      14 the United States Constitution and Article I, Section 7 of the California Constitution because,

                                      15 among other things, (1) any award of punitive or exemplary damages would be grossly out of

                                      16 proportion to the alleged wrongful conduct and purported injury at issue here; (2) there is no

                                      17 legitimate state interest in punishing the alleged wrongful conduct at issue here, or in deterring

                                      18 its possible repetition; (3) the alleged wrongful conduct at issue here is lawful in other

                                      19 jurisdictions; (4) the alleged wrongful conduct at issue here is not sufficiently reprehensible to
                                      20 warrant the imposition of any punitive or exemplary damages; and (5) the criteria for the

                                      21 imposition of punitive or exemplary damage are unconstitutionally vague and uncertain and fail

                                      22 to provide fair notice of what conduct will result in the imposition of such damages.

                                      23                         FORTY-FIRST AFFIRMATIVE DEFENSE
                                      24                       (Clear and Convincing Standard for Punitive Damages)
                                      25          McCoy Mills alleges that any predicate liability finding for the imposition of punitive
                                      26 damages or a finding of the amount of any punitive damage award based upon a burden of proof

                                      27 of less than clear and convincing evidence violates due process and is unconstitutional.

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                                           MCCOY MILLS FORD’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT FOR DAMAGES
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                                       1                      FORTY-SECOND AFFIRMATIVE DEFENSE
                                       2                         (Punitive Damages – Financial Status of Defendant)
                                       3          To the extent that California law permits punishment to be measured by the net worth or
                                       4 financial status of McCoy Mills and allows the fact finder to impose greater punishment on

                                       5 defendants with larger net worth, such an award would be unconstitutional because it permits

                                       6 arbitrary, capricious and fundamentally unfair punishments, allows bias and prejudice to infect

                                       7 verdicts imposing punishment, allows punishment to be imposed based on lawful profits and

                                       8 conduct of Ford in other States, and allows dissimilar treatment of similarly situated defendants,

                                       9 in violation of the due process and equal protection provisions of the Fourteenth Amendment to
                                      10 the United States Constitution, the Commerce Clause of the United States Constitution, and the

                                      11 California Constitution.
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                                      12                        FORTY-THIRD AFFIRMATIVE DEFENSE
  650 CALIFORNIA STREET, 19TH FLOOR
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13                                               (Set Off)
         FAX: (415) 364-6785




                                      14          McCoy Mills alleges that if it is established that McCoy Mills is in any manner legally
                                      15 responsible for any of the damages claimed by Plaintiffs, which is denied, McCoy Mills is

                                      16 entitled to a set off of those damages, if any, which resulted from the wrongful acts of Plaintiffs

                                      17 and/or others.

                                      18                      FORTY-FOURTH AFFIRMATIVE DEFENSE
                                      19                                           (Fees and Costs)
                                      20          McCoy Mills is informed and believes, and on that basis alleges, that the Complaint was
                                      21 brought without reasonable cause and without a good faith belief that there was a justifiable

                                      22 controversy under the facts or the law which warranted the filing of the Complaint against

                                      23 McCoy Mills. Plaintiffs should therefore be responsible for all of McCoy Mills’ necessary and

                                      24 reasonable attorney fees and defense costs as permitted by California law.

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                                           MCCOY MILLS FORD’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT FOR DAMAGES
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                                       1                        FORTY-FIFTH AFFIRMATIVE DEFENSE
                                       2                                      (Additional Defenses)
                                       3         McCoy Mills alleges that it may have additional affirmative defenses available to it of
                                       4 which it is not now fully aware. McCoy Mills reserves the right to assert affirmative defenses

                                       5 after the same shall have been ascertained.

                                       6

                                       7                                               PRAYER
                                       8         WHEREFORE, Ford prays as follows:
                                       9         1.     For dismissal of Plaintiffs’ Complaint with prejudice;
                                      10         2.     For judgment in favor of McCoy Mills against Plaintiffs;
                                      11         3.     For McCoy Mills’ fees and costs of suit herein; and
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12         4.     For such other and further relief as the Court may deem just and proper.
  650 CALIFORNIA STREET, 19TH FLOOR
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13
         FAX: (415) 364-6785




                                      14

                                      15                                 DEMAND FOR JURY TRIAL
                                      16         McCoy Mills hereby demands a jury trial on all claims asserted by Plaintiffs.
                                      17

                                      18 Dated: April 1, 2019                           SCHNADER HARRISON SEGAL & LEWIS LLP
                                      19

                                      20                                                By:
                                                                                              CHARLES F. HARLOW
                                      21                                                      Attorneys for Defendant
                                                                                              MCCOY & MILLS dba MCCOY MILLS
                                      22                                                      FORD and incorrectly named in the complaint
                                                                                              as McCoy Mills Ford
                                      23

                                      24

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                                           MCCOY MILLS FORD’S ANSWER TO PLAINTIFFS’ UNVERIFIED COMPLAINT FOR DAMAGES
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                                       1                                      PROOF OF SERVICE
                                       2         I declare under penalty of perjury under the laws of the State of California that the
                                       3 following is true and correct: I am employed in the City and County of San Francisco, State of
                                         California, in the office of a member of the bar of this court, at whose direction the service was
                                       4 made. I am a citizen of the United States, over the age of eighteen (18) years, and not a party to
                                         or interested in the within-entitled cause. My business address is SCHNADER HARRISON SEGAL &
                                       5 LEWIS LLP, 650 California Street, 19th Floor, San Francisco, California 94108-2736.

                                       6         I caused to be served the following document and by the following means:
                                       7       DEFENDANT MCCOY & MILLS DBA MCCOY MILLS FORD’S ANSWER TO
                                               PLAINTIFFS’ UNVERIFIED COMPLAINT FOR VIOLATION OF STATUTORY
                                       8       OBLIGATIONS
                                       9 ⌧       By U.S. Mail: I enclosed a true and correct copy of said document in an envelope with
                                                 postage fully pre-paid and placed it for collection and mailing with the United States
                                      10         Post Office on the date set forth below, following the ordinary business practice,
                                                 addressed as follows:
                                      11
                                                       Tionna Dolin, Esq.
SCHNADER HARRISON SEGAL & LEWIS LLP




                                      12               Strategic Legal Practices, APC
  650 CALIFORNIA STREET, 19TH FLOOR




                                                       1840 Century Park East, Suite 430
    SAN FRANCISCO, CA 94108-2736
      TELEPHONE: (415) 364-6700




                                      13               Los Angeles, CA 90067
         FAX: (415) 364-6785




                                                       T: 310-929-4900
                                      14               F: 310-943-3838
                                      15               Counsel for Plaintiffs
                                                       Carol A. Richens and Gary T. Richens
                                      16

                                      17        I am readily familiar with my firm’s practice for collection and processing of
                                         correspondence for delivery in the manner indicated above, to wit, that correspondence will be
                                      18 deposited for collection in the above-described manner this same day in the ordinary course of
                                         business.
                                      19
                                                Executed on April 1, 2019, at San Francisco, California.
                                      20

                                      21

                                      22                                               By:
                                                                                                    Steven G. Davenport
                                      23

                                      24

                                      25

                                      26

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                                           PROOF OF SERVICE
